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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


LAKIMEY BALLARD,                  )
                                  )
          Plaintiff,              )
                                  )
v.                                ) CAUSE NO: 1:20-CV-2479
                                  )
ASCENSION HEALTH MINISTRY SERVICE )
CENTER, LLC.,                     )
                                  )
          Defendant.              )


                     COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff, LaKimey Ballard (“Ballard”), by counsel, bring this action against Defendant,

Ascension Health Ministry Service Center, LLC (“Defendant”), and shows as follows:

                                          OVERVIEW

       Ballard bring this action under Title VII of the Civil Rights Act of 1964

(hereinafter “Title VII”), 42 U.S.C. §2000e, et. seq., as amended, and The Civil Rights Act of

1866 (“Section 1981”). Ballard contends that she was subjected to different terms and

conditions of her employment because of her race, African-American, and was retaliated against

for engaging in protected activity in violation of Title VII and Section 1981.

                                            PARTIES

       1.      Ballard resided in the Southern District of Indiana. She was employed by

Defendant and was, at all times relevant to this matter, an employee as defined by 42 U.S.C.

§2000e(f).

       2.      At all relevant times Defendant was continuously doing business in the state of

Indiana in Marion County and is an employer as defined by 42 U.S.C. §2000e(b).
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                                   JURISDICTION AND VENUE

       3.This Court has jurisdiction over Defendant pursuant to 28 U.S.C. §1331

and 42 U.S.C. §2000e-5(f)(3).

       4.       Plaintiff satisfied her obligation to exhaust her administrative remedies by timely

filing a charge with the U.S. Equal Employment Opportunity Commission (hereinafter “EEOC”),

receiving the appropriate Dismissal and Notice of Suit Rights, and timely filing this Complaint

within ninety (90) days thereof.

       5.       As all events pertinent to this lawsuit occurred within the Southern District

of Indiana, venue in this Court is proper.

                                              FACTS

       6.       Defendant hired Ballard in or about April 2014. She was a Purchasing Card

Administrator (“PCA”). Plaintiff’s position later became a remote position.

       7.       Plaintiff was paid nearly $20 per hour and worked between 50-60 hours per week

– on average – at the time of her termination on March 14, 2019.

       8.       In March 2018, Plaintiff began reporting to a new (Caucasian) manager.

       9.       The manager held Plaintiff’s work to a higher level of scrutiny than he did

Plaintiff’s Caucasian counterparts. Moreover, Plaintiff, and the other African American

employed as a PCA were written up for approving transactions that everyone approved.

Moreover, Plaintiff was told she could no longer work remotely. In the fall of 2018, this racial

targeting resulted in Plaintiff receiving the worst performance review of her tenure.

       10.      Due to the scrutiny, Plaintiff complained that she was being treated differently

because of her race. Management attempted to resolve Plaintiff’s complaints but were

unsuccessful.



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         11.   Plaintiff submitted a vacation request in March 2019. Her manager elected to

grant vacation to one or more Caucasian employees, but gave Plaintiff a no-call, no-show and

terminated her.

         12.   The manager terminated another African American female and replaced her with

a Caucasian. The manager also required another African American to return to the office rather

than work remotely.

         13.   After her termination, the manager retorted that, “[H]e got rid of another one.”

When confronted by an African American employee, the manage refused to explain what he

meant.

         14.   Ballard has been harmed by Defendant’s unlawful conduct.

                                       LEGAL CLAIMS

                           COUNT I: RACE DISCRIMINATION

         15.   Ballard hereby incorporates by reference paragraphs one (1) through

fourteen (14) of this Complaint.

         16.   Ballard was treated differently in the terms and conditions of her employment

than non-African-American employees.

         17.   Upon information and belief Defendant acted with intent, malice, and/or reckless

disregard as to rights afforded to Ballard under Title VII and Section 1981.

         18.   Ballard suffered harm as a result of Defendant’s unlawful conduct.

                                   COUNT II: RETALIATION

         19.   Ballard hereby incorporates by reference paragraphs one (1) through

eighteen (18) of this Complaint.




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         20.     Ballard complained about what she reasonably believed was disparate treatment

based on race.

         21.     Defendant retaliated against Ballard by firing her shortly after she last engaged in

activity protected by Title VII and Section 1981.

         22.     Upon information and belief Defendant acted with intent, malice, and/or reckless

disregard as to rights afforded to Ballard under Title VII and Section 1981.

         23.     Ballard suffered harm as a result of Defendant’s unlawful conduct.

                                      REQUESTED RELIEF


   WHEREFORE, Plaintiff, LaKimey Ballard, respectfully requests the following:

   a)     An Order finding Defendant liable for back wages in an amount to make Plaintiff

whole;

   b)     An Order finding Defendant liable for compensatory damages in an amount to make

Plaintiff whole;

   c)     An Order awarding Plaintiff punitive damages as a penalty for Defendant’s intentional,

unlawful conduct;

   d)     An Order awarding Plaintiff the costs of this action;

   e)     An Order awarding Plaintiff her attorneys’ fees;

   f)     An Order awarding Plaintiff pre- and post-judgment interest at the highest rates allowed

by law; and

   g)     An Order granting such other and further relief as may be necessary and appropriate.


                                               Respectfully submitted,

                                               s/ Christopher S. Wolcott
                                               Christopher S. Wolcott (#23259-32)
                                               The Wolcott Law Firm LLC

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                                           Attorney for Plaintiff


                                 JURY TRIAL DEMAND

     Plaintiff demands a trial by jury on all issues deemed triable.

                                           Respectfully submitted,

                                           s/ Christopher S. Wolcott
                                           Christopher S. Wolcott (#23259-32)
                                           The Wolcott Law Firm LLC
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